                                         IN THE
                              UNITED STATES DISTRICT COURT
                                        FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

  UNITED STATES OF AMERICA                    )
                                              )
         v.                                   )       Criminal No. 4:18-cr-00011
                                              )
  MARCUS DAVIS et al                          )
                                              )

              UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION FOR
               A BILL OF PARTICULARS REGARDING HIS ALIBI DEFENSE

         The United States of America respectfully opposes Defendant Deshaun Trent’s Motion for

  Bill of Particulars Regarding United States’ Alibi Response (ECF 732), in which the defendant

  seeks an order requiring the government to summarize the grand jury testimony, videotaped

  interviews, and FBI 302 reports already disclosed to counsel. Federal Rule of Criminal Procedure

  12.1 does not require such a summary, nor does the Due Process Clause, and hence this motion

  should be denied.

         On April 18, 2019, the United States filed its Demand for Notice of Alibi, requesting that

  the defendants provide information regarding any intended alibi defense. ECF No. 462. In

  compliance with Rule 12.1, the United States listed the date, time, and location of the indicted

  offenses. Fed. R. Crim. P. 12.1(1)(a)(1). This is sufficient to trigger a response from the

  defendants within fourteen days, or within whatever period is set by the Court. Fed. R. Crim. P.

  12.1(2). The defendant’s response “must state (a) each specific place where the defendant claims

  to have been at the time of the alleged offense; and (b) the name address, and telephone number

  of each alibi witness on whom the defendant intends to rely.” Id.


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         Defendant Trent responded to this request by letter dated May 16, 2019, and provided his

  location on August 20, 2019 at certain times as well as the name and contact information for his

  alibi witness. The information from the defendant was disclosed to him by the United States in

  discovery.

         Since the defendant responded to the alibi demand, the government was required to

  “disclose in writing . . . (i) the name of each witness – and the address and telephone of each

  witness other than a victim – that the government intends to rely on to establish that the defendant

  was present at the scene of the alleged offense.” Fed. R. Crim. P. 12.1(b)(1)(A). The United

  States did so on June 19, 2019. The response lists the name, address, and telephone number of

  each rebuttal alibi witness. Each witnesses’ anticipated testimony has long been provided in

  discovery in the form of grand jury transcripts, videotaped interviews, and FBI 302 reports.

         Citing no legal authority, the defendant’s request is far beyond the scope and requirements

  of the Due Process Clause. The defendant now requests “a brief summary of the expected

  testimony” of each rebuttal alibi witness, including “the location . . . of Your Defendant, with

  corresponding times, and the basis upon which said contra-alibi is founded.” Mot. at ¶ 5. Bills

  of Particulars are not intended to be vehicles for discovery and trial preparations. The purpose of

  a bill of particulars is to fairly apprise the defendant of the charges against him so that he may

  adequately prepare a defense and avoid surprise at trial. United States v. Automated Med. Labs.,

  Inc., 770 F.2d 399, 405 (4th Cir. 1985) (citation omitted). A bill of particulars is unnecessary as

  long as the indictment fulfills those purposes. United States v. Butler, 885 F.2d 195, 199 (4th

  Cir.1989). As the Fourth Circuit has repeatedly held, a bill of particulars is not intended to be a




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  detailed evidentiary proffer by the government. See, e.g., United States v. Anderson, 481 F.2d

  685 (4th Cir.1973), aff’d on other grounds, 417 U.S. 211 (1974).

         To the extent the defendant seeks some kind of order requiring the government to help him

  construct his defense, the Due Process Clause does not give defendants a right to have the

  government construct the defense and identify defense witnesses. United States v. Marrero, 904

  F.2d 251, 261 (5th Cir. 1990) (“While the Supreme Court in Brady held that the government may

  not properly conceal exculpatory evidence from a defendant, it does not place any burden upon

  the Government to conduct a defendant's investigation or assist in the presentation of the defense's

  case.”); United States v. Griggs, 713 F.2d 672, 673–74 (11th Cir. 1983); United States v. Herbst,

  641 F.2d 1161, 1168 n. 11 (5th Cir. 1981); United States v. Brown, 628 F.2d 471, 473 (5th Cir.

  1980); United States v. Prior, 546 F.2d 1254, 1259 (5th Cir. 1977); United States v. Ruggiero, 472

  F.2d 599, 604 (2d Cir. 1973).

         The United States has long disclosed the witnesses’ entire statements, including

  information regarding Defendant Trent.       The United States should not now be required to

  summarize each witnesses’ testimony in the particular style or fashion demanded by the defendant.

         WHEREFORE, the Court should deny the defendant’s motion.

                                                Respectfully submitted,

                                                THOMAS T. CULLEN
                                                United States Attorney

                                                s/Heather L. Carlton
                                                Ronald M. Huber
                                                Heather L. Carlton
                                                Michael Baudinet
                                                Assistant United States Attorneys



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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing has been electronically filed

  with the Clerk by CM/ECF system which will send notification of such filing to all counsel for the

  Defendants, on this 12th day of September, 2019.


                                                      s/Heather L. Carlton
                                                      Assistant United States Attorney




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